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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    Miami Division

                      CASE NO.:   19-cv-24766-CIV-WILLIAMS/TORRES


   JANE DOE,

         Plaintiff,

   v.

   CARNIVAL CORPORATION,

         Defendant.
                                               /

        DEFENDANT CARNIVAL CORPORATION’S MOTION FOR NEW TRIAL




                                         MASE SEITZ, P.A.
                                         Attorneys for Defendant
                                         2601 South Bayshore Drive, Suite 800
                                         Miami, Florida 33133
                                         Telephone: (305) 377-3770
                                         Facsimile: (305) 377-0080

                                         By:   /s/ Curtis Mase
                                               CURTIS J. MASE
                                               Florida Bar No. 478083
                                               cmase@maselaw.com
                                               WILLIAM R. SEITZ
                                               Florida Bar No. 73928
                                               wseitz@maselaw.com

   Dated: December 19, 2022
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            Defendant, Carnival Corporation, by and through its undersigned counsel and pursuant to

   Federal Rule of Civil Procedure 59(a)(1)(A), hereby moves this Court to set aside the jury verdict

   returned in this action [ECF No. 307] and to grant a new trial. The judgment has not yet been

   entered.

                                          INTRODUCTION

            This is a maritime sexual assault case. Such cases are always volatile, and this Court

   conducted the preliminary proceedings and trial with appropriate care. But several critical

   developments before and at trial deprived Carnival of an opportunity to present its defense free of

   prejudice. Ahead of trial, Plaintiff was granted summary judgment on her false-imprisonment

   claim against Carnival. Essential to that decision was the Court’s conclusion that there was “no

   evidence that the jury could rely on to reject [Plaintiff’s] undisputed recollection that . . . Mr.

   Angarra did not let her exit the closet after she sought to do so.” [ECF No. 151 at 10].

            But there was such evidence: The FBI’s contemporaneous notes and resulting reports

   documented the Bureau’s investigation into the incident and its ultimate conclusion that the

   encounter was consensual. Plaintiff opposed the admission of the FBI evidence as hearsay at the

   summary judgment stage. The Court agreed and excluded the FBI Notes and Reports from

   consideration, leading to the grant of summary judgment for Plaintiff on her false-imprisonment

   claim.

            With the summary judgment decision in hand, Plaintiff then made a pretrial about-face,

   deciding she now wanted to use the FBI Notes in her favor. So Plaintiff stipulated to the admission

   of the FBI Notes—which, as this Court noted at the time, created a clear dispute of material fact.

   After all, consent was a central issue at trial and in Plaintiff’s sexual assault claim, and the FBI

   Notes reflected the investigators’ conclusion that the encounter at issue was consensual. Carnival




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   thus renewed its motion for reconsideration of the summary judgment against it on Plaintiff’s false

   imprisonment claim. But reconsideration was denied, on the ground that reconsidering summary

   judgment at that later stage would unduly prejudice the Plaintiff. The jury considering Plaintiff’s

   remaining claim thus was told that Plaintiff had been held in the closet without her consent. No

   surprise, then, when the jury took the only logical conclusion from that directive and found for

   Plaintiff on the consent element of sexual assault as well.

          Even aside from Plaintiff’s whipsaw with the FBI Notes, the exclusion of the other FBI

   materials independently warrants post-trial review. Ahead of trial this Court excluded the FBI

   Reports as inadmissible hearsay in their entirety, without considering, at a minimum, whether the

   investigative conclusions in those reports could be admitted. That is substantial prejudicial error

   warranting a new trial, because the conclusions (at the least) are admissible under the public

   records hearsay exception.

          The exclusion of the FBI Reports had other consequences as well. At trial, Plaintiff put

   forward two expert witnesses. Unbeknownst to Carnival until mid-cross-examination, one of those

   experts had relied on the FBI Reports in forming her opinion. Yet because no mention of the

   Reports’ conclusions was permitted—including the FBI’s conclusion that the interaction was

   consensual—Carnival could not use the FBI Reports to impeach the testifying expert. In fact, that

   expert was even allowed to copy factual statements from the FBI Reports into her own expert

   report, testify to those facts, conclude in her expert opinion that (contrary to the FBI’s conclusion)

   the interaction was not consensual, yet all the while avoiding cross-examination and impeachment.

   Plaintiff thus benefitted from the rules of evidence, which allow experts to rely on otherwise

   inadmissible evidence, but shirked the corresponding burden of those rules, which require the




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   expert disclose and be cross-examined on that evidence. The Court should not reward such blatant

   gamesmanship.

          Finally, Carnival sought a jury instruction on Plaintiff’s failure to obtain recommended

   care to mitigate her psychological damages. This was supported by the medical records and the

   testimony of Plaintiff and her own expert, Dr. Surloff. The Court concluded that mitigation was

   not applicable to psychological damages. That conclusion was not correct; all types of personal

   injury damages are subject to mitigation. Because it was not informed about Plaintiff’s duty to

   mitigate, the jury could not properly consider the effect of not obtaining recommended care on

   Plaintiff’s damages.

          In light of Plaintiff’s trial presentation, the blanket exclusion of the FBI Reports and

   conclusions therein, and the missing mitigation instruction, Carnival was deprived of a fair trial.

   A new trial is warranted.

                                    FACTUAL BACKGROUND

          This is a maritime sexual assault case. Plaintiff alleges that, while playing “hide and seek”

   while “blackout drunk,” Fredy Anggara, a crewmember aboard the Carnival Miracle, confined her

   in a storage closet without her consent and sexually assaulted her. [ECF No. 95-1, at 100:2–5,

   104:25, 120:13–21, 122:8–12, 124:5–12]. Plaintiff’s claims stem from that occurrence.

          The alleged incident prompted the FBI to conduct an onboard fact-finding investigation in

   early December 2018. [ECF Nos. 111-2, 111-4]; [Trial Tr. Day 6 at 27:4–8]. Among other actions

   in support of that investigation, FBI investigators conducted in-person interviews of several

   witnesses and relevant individuals, including Plaintiff, Anggara, Plaintiff’s cabinmate, and the

   vessel’s Chief Security Officer. [ECF No. 111-2]; [Trial Tr. Day 6 at 30:13–19, 32:18–22, 33:7–

   8, 45:10–11]. The final report resulting from the FBI’s investigation concluded that “the sexual




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    encounter was consensual at the time of the event.” [ECF No. 111-4]. The FBI referred the results

    of its investigation and its conclusion to the United States Attorney’s Office for the Middle District

    of Florida, which declined to prosecute Anggara. [ECF No. 111-2].

           The FBI’s investigation was memorialized in three records: (1) Investigation into alleged

    sexual misconduct aboard Carnival Cruise Ship “Miracle,” (2) Liaison with Carnival Cruise Ship

    Miracle Security Officer Vikram Singh; and (3) Case Closing Report (collectively, the “FBI

    Reports”), which Plaintiff produced in discovery.        [ECF Nos. 111-2, 111-4].        In addition,

    throughout the FBI’s investigation, Special Agent Sarah Andreasen (“Special Agent Andreasen”)

    took handwritten notes of her interviews with witnesses and her investigative findings (the “FBI

    Notes”). [J.E. 26]. The FBI Notes, which were admitted at trial, state that Plaintiff was drinking

    heavily on the date of the alleged incident, ran from her traveling companion, and ended up in a

    closet with a man. [J.E. 26-1]. The FBI Notes state, among other things, “She was being playful

    before that point and may have asked for help hiding” and that Plaintiff “doesn’t remember if she

    gave consent.” [J.E. 26-3]. The FBI Notes reflect the outcome of Special Agent Andreasen’s

    interview of Anggara, including that Anggara saw Plaintiff running on the deck and she followed

    him into the locker, and that while inside the closet, Plaintiff held his hand, hugged him, and

    masturbated him. [J.E. 26-6–8]. According to the FBI Notes, Anggara stated that, as Plaintiff and

    Anggara exited the closet, Plaintiff “pulled his hand and kissed him in front of the camera. She

    said[,] ‘thank you for everything.’” [J.E. 26-9].

           In November 2019, nearly a year after the incident, Plaintiff filed suit against Carnival,

    alleging false imprisonment, negligence, and sexual assault. [ECF No. 1]. Following discovery,

    the parties filed cross-motions for partial summary judgment, with Plaintiff seeking partial

    summary judgment on her false-imprisonment claim. [ECF Nos. 92, 94]. Magistrate Judge Torres




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    issued a Report and Recommendation (“R&R”) on the parties’ cross-motions in June 2021, in

    which he recommended the Court enter partial summary judgment in Plaintiff’s favor on her false

    imprisonment claim. [ECF No. 151]. The R&R determined the FBI Reports (which the R&R

    frequently referred to as a singular “report”) were inadmissible hearsay in their entirety, and thus

    unavailable for consideration at summary judgment. [ECF No. 151 at 7–9]. And as the R&R

    explained, “Now that the hearsay statements from the FBI report must be excluded, we are left

    with nothing tangible to find a genuine issue of fact remains for trial” on the false-imprisonment

    claim. [Id. at 10]. The Court denied Carnival’s objections to the R&R and granted partial summary

    judgment in Plaintiff’s favor on her false-imprisonment claim. [ECF No. 197]. Carnival sought

    reconsideration, which the Court denied. [ECF No. 249].

           Several critical developments then occurred at trial.

           First, at the motions-in-limine stage, the Court excluded the FBI Reports in their entirety

    as inadmissible hearsay. It stated that the Reports generally were hearsay and, therefore, that

    everything therein was inadmissible hearsay—even the FBI’s conclusion that the interaction was

    consensual. [ECF No. 233]. But now, with summary judgment in hand, the Plaintiff sought to

    admit some of those FBI documents into the trial record, agreeing to stipulate to the admission of

    the FBI Notes into evidence. [ECF No. 154 at 3 (J.E. 26)]. Plaintiff’s counsel freely admitted that

    he stipulated to the admission of the FBI Notes for Plaintiff’s strategic benefit, explaining that he

    agreed to make it a joint exhibit, “in reliance that I already have the false imprisonment claim.”

    [Trial Tr. Day 6 at 15:5–7].

           This Court recognized what had occurred: The stipulated admission of the Notes into

    evidence created the very dispute of material fact Plaintiff had previously successfully stifled at

    the summary judgment stage before Magistrate Judge Torres. As this Court put it, there were now




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    “two accounts; meaning, there is an issue of fact which was not present when Judge Torres

    examined it.” [Id. 18:2–4].

           Because there existed a material factual dispute on Plaintiff’s false-imprisonment claim,

    Carnival renewed its motion for reconsideration of the summary judgment order. [ECF No. 296].

    The court recognized the conundrum it now faced, observing that it did not “know how much more

    diametrically opposed in terms of genuine issue of fact you [could] have than [Plaintiff’s] account

    and then [the FBI Notes] account.” [Trial Tr. Day 6 at 16:24–17:1].

           Yet the Court ultimately denied the motion, and confirmed its prior summary judgment

    ruling that there was not a genuine dispute of fact, on the ground that reconsidering summary

    judgment would prejudice Plaintiff “at this time” because “we did not substantively visit this issue”

    until a few days after the Notes came into evidence and Plaintiff had already “designed” her case.

    [ECF No. 310]; [Trial Tr. Day 6 at 70:3–15].

           Second, Plaintiff failed to make numerous expert disclosures and instead blindsided

    Carnival with them on the eve of, and even during, trial. For one example, Plaintiff waited until

    trial to reveal for the first time that her expert Dr. Surloff had conducted a battery of previously

    undisclosed psychological tests upon Plaintiff during her most recent evaluation, which also was

    unauthorized by the court. [ECF No. 217 at 36:10–37:7]; [Trial Tr. Day 5 at 78:9-81:6].

           Dr. Surloff’s testimony on cross-examination also revealed—and also for the first time—

    that she relied upon the excluded FBI Reports in formulating her expert opinion. See [Trial Tr.

    Day 5 at 86:12–91:20]. This too was never disclosed pretrial. Dr. Surloff also failed to bring the

    FBI Reports with her to trial, despite a standard subpoena requiring her to bring all records she

    relied on in forming her opinion.




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            Despite Dr. Surloff’s reliance on the FBI Reports—including in many places where she

    simply “repeated what was written in the [FBI] report,” [Id. at 87:23-25, 89:8-90:4]—Carnival

    was neither able nor permitted to ask Dr. Surloff anything about the FBI Reports on cross-

    examination. Carnival was not able to ask Dr. Surloff about the FBI Reports on cross because Dr.

    Surloff did not bring the FBI Reports and said she could not recall anything about them:

           “Mr. Mase:      What was the source of that information?

           Dr. Surloff:    That was in the comments that [Mr. Anggara] must have provided
                           to the FBI . . . I just repeated exactly what he said . . . .

           Mr Mase:        As we sit here right now, you’re not able to recall where you got that
                           information; is that correct?

           Dr. Surloff:    No . . . . I didn’t bring all of the information that was sent to
                           me . . . . I summarized it in my report.”

           [Id. at 90:1-15].

           And Carnival was not permitted to cross Dr. Surloff on the FBI Reports because they had

    been excluded as hearsay. Carnival similarly was not able to cross-examine Plaintiff’s security

    expert, Dr. Foster, about the FBI Reports he also relied on in his own expert report:

           Mr. Seitz:      Mr. Foster has relied upon the FBI records in preparing his opinion.
                           It is in his report.

           The Court:      Okay. He said so.

           ...

           Mr. Seitz:      . . . I want to cross-examine the witness—

           The Court:      No, you’re not going to do that, Mr. Seitz. I am not going to allow
                           that.

    [Trial Tr. Day 3 at 150:16–151:10].




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            FBI Special Agent Sara Andreasen, who authored the FBI Reports and Notes, also

    was not permitted to testify regarding her conclusions based on her investigation. [Trial Tr.

    Day 6 at 24:14–25].

            In addition to the improper constraints placed on Carnival’s ability to effectively cross-

    examine witnesses, Plaintiff’s trial testimony re-affirmed the existence of the factual dispute

    focused on her consent. Plaintiff testified at trial that she did not recall consenting to her encounter

    with Anggara in the closet aboard the Carnival Miracle. [Id. at 235:6–8]. But the FBI Report, and

    portions of the FBI Notes, on which Plaintiff’s own experts relied, suggest instead that Plaintiff

    while playing drunken “hide and seek” had asked Anggara to enter the storage room, close the

    door, and stay with her, [J.E. 26 at 6], and conclude the interaction was consensual. [ECF No.

    111-4]. Carnival was not allowed to leverage that evidence either to rebut Plaintiff’s narrative or

    impeach her experts.

            When the case went to the jury, the jury was told that Anggara had already been found to

    have falsely imprisoned Plaintiff, “defined as the unlawful restraint of a person against their will.”

    [ECF No. 309 at 18]. The jury was further instructed that, for the sexual assault claim, Plaintiff

    must prove that Anggara knowingly participated in a sexual act with Plaintiff “without Plaintiff’s

    consent.” [Id. at 14]. Unsurprisingly—given the directed finding that Plaintiff had been restrained

    “against [her] will”—the jury found that Anggara had sexually assaulted Plaintiff, and it eventually

    returned a verdict finding Carnival vicariously liable for $10.2 million. [ECF No. 307].

                                           LEGAL STANDARD

            A motion for new trial may be granted “on all or some of the issues . . . for any reason for

    which a new trial has heretofore been granted in an action at law in federal court.” Fed. R. Civ. P.

    59(a)(1)(A).




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           Although a comprehensive list of the grounds for granting a new trial is elusive, the
           Supreme Court has held that a motion for a new trial may rest on the fact [that] “the
           verdict is against the weight of the evidence, that the damages are excessive, or that,
           for other reasons, the trial was not fair to the party moving; and may raise questions
           of law arising out of alleged substantial errors in admission or rejection of evidence
           or instructions to the jury.”

    Goodloe v. Royal Caribbean Cruises, Ltd., 418 F. Supp. 3d 1112, 1120 (S.D. Fla. 2019) (quoting

    Montgomery Ward & Co. v. Duncan, 311 U.S. 243, 251 (1940)). “When ruling on a motion for a

    new trial, a trial judge must determine ‘if in his [or her] opinion, the verdict is against the clear

    weight of the evidence . . . or will result in a miscarriage of justice . . . .’” Ins. Co. of N. Am. v.

    Valente, 933 F.2d 921, 922–923 (11th Cir. 1991). A new trial is warranted “where the error has

    caused substantial prejudice to the affected party (or, stated somewhat differently, affected the

    party’s ‘substantial rights’ or resulted in ‘substantial injustice’).” Peat, Inc. v. Vanguard Rsch.,

    Inc., 378 F.3d 1154, 1162 (11th Cir. 2004).

           To determine whether a new trial is warranted, courts consider the number of errors, the

    closeness of the factual disputes, the prejudicial effect of the evidence, the instructions given, and

    whether counsel intentionally elicited the evidence and focused on it during trial. SEB S.A. v.

    Sunbeam Corp., 148 F. App’x 774, 790 (11th Cir. 2005) (citing Ad-Vantage Tel. Directory

    Consultants, Inc. v. GTE Directories Corp., 37 F.3d 1460, 1465 (11th Cir. 1994)).                 This

    discretionary decision “touches on the trial court’s traditional equity power to prevent injustice

    and the trial judge’s duty to guard the integrity and fairness of the proceedings before him.”

    Christopher v. Florida, 449 F.3d 1360, 1366 n.4 (11th Cir. 2006).

                                               ARGUMENT

           Several errors before and at trial substantially prejudiced Carnival. First, Plaintiff’s

    stipulated admission of the FBI Notes created—in the Court’s own view—a genuine dispute of

    material fact, necessitating reconsideration of the summary judgment on false imprisonment. But


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    reconsideration was denied and the jury was told that Plaintiff had already received judgment in

    her favor on her false imprisonment claim—including, of course, the question of consent so critical

    to her assault claim. The FBI Reports also were excluded in their entirety as inadmissible hearsay,

    even though precedent clearly allows, at a minimum, that the investigative conclusions be

    admitted. And Carnival was not permitted to cross-examine Plaintiff’s expert witnesses on the

    FBI Reports, even for the limited purpose of impeachment, despite those experts having relied on

    the FBI Reports in forming their expert opinions. Finally, the Court declined to give a mitigation

    jury instruction on Plaintiff’s failure to mitigate her personal injury damages.

             Taken individually and together, these errors warrant a new trial.1

        I.   THIS COURT COMMITTED LEGAL ERROR WHEN IT FAILED TO
             RECONSIDER ITS GRANT OF SUMMARY JUDGMENT ON FALSE
             IMPRISONMENT AFTER IDENTIFYING A MATERIAL FACTUAL DISPUTE.

             Motions for reconsideration should be granted in three instances: to address (1) a change

    in controlling law; (2) the availability of new evidence; or (3) a clear error or manifest injustice at

    trial. Sanzone v. Hartford Life & Accident Ins. Co., 519 F. Supp. 2d 1250, 1255 (S.D. Fla. 2007).

    Two of those three grounds are implicated here. First, Plaintiff introduced new evidence—the FBI

    Notes—at trial, thoroughly undermining the Court’s summary judgment order and creating a

    dispute of fact. The Court’s denial of the ensuing motion for reconsideration was legal error, given

    the conceded presence of a material factual dispute. And the resulting trial outcome was manifestly

    unjust: The jury was instructed that Plaintiff had already been granted summary judgment on her



    1
      This Court can “grant a new trial on all or some of the issues” in a case. Fed. R. Civ. P. 59(a)(1).
    For purposes of this motion, that authority would allow the court to limit its grant of a new trial to
    those claims affected by the summary judgment and evidentiary errors bearing on consent: The
    false imprisonment and sexual assault claims. The jury’s finding in favor of Carnival on Plaintiff’s
    negligence claim did not turn on whether Plaintiff consented to the interaction. If the court
    concludes that the issues and evidence were not sufficiently separate, then it should enter a new
    trial on all issues.

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    claim that she was detained without her consent, rendering the jury’s verdict inevitable as to her

    claim that she was touched without her consent.

            A. The FBI Notes Created a Dispute of Material Fact.

            When reconsidering summary judgment based on new evidence, courts consider whether

    “substantially different evidence is produced” at trial than was in the summary judgment record.

    Jackson v. State of Alabama State Tenure Comm’n, 405 F.3d 1276, 1283 (11th Cir. 2005). That

    is because when the record changes, “the inferences that may be drawn from it” change as well.

    Id. And the decision to send an issue to the jury must be made “on the basis of the evidence

    actually admitted and as actually adduced.” Shelkofsky v. Broughton, 388 F.2d 977, 979 (5th Cir.

    1968) (per curiam). Therefore, when the trial record expands to include a “fact so central to the

    litigation that it shows the initial judgment to have been manifestly unjust,” reconsideration is

    proper. Good Luck Nursing Home, Inc. v. Harris, 636 F.2d 572, 577 (D.C. Cir. 1980) (citing Gray

    v. Estelle, 574 F.2d 209, 214-15 (5th Cir. 1978)).

            Consider the Fifth Circuit’s decision In re Louisiana Crawfish Producers, 852 F.3d 456

    (5th Cir. 2017). There, the trial court declined to reconsider its summary-judgment ruling after

    plaintiffs presented new evidence that generated a fact dispute. The Court of Appeals reversed.

    Id. at 459. It also rejected arguments that plaintiffs should have put forward that evidence sooner:

    The key fact—in that case an admission in a deposition—did not become available until much

    later. Id. at 466–468. When that key fact came in at trial, reconsideration was required to ensure

    a decision based on “all the facts.” Id. at 468.

            The same series of events occurred here. Judge Torres recommended summary judgment

    on Plaintiff’s false-imprisonment claim because there was at the time “no evidence that the jury

    could rely on to reject [Plaintiff’s] undisputed recollection that . . . Mr. Angarra did not let her exit

    the closet after she sought to do so,” and thus no “genuine issue of fact remain[ed] for trial.” [ECF

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    151 at 10]. That all changed when Plaintiff stipulated to the admission at trial of the FBI Notes,

    because the Notes created a critical dispute of fact. The Notes indicate that Plaintiff does not

    remember whether she gave consent or how she got out of the storage room. [JE 26 at 2–3]. They

    also indicate that Plaintiff asked Mr. Anggara to enter the storage room, to close the door, and to

    stay in the room with her. Id. at 6. As the Court acknowledged, because of the Notes, the record

    now contains “two accounts,” thereby creating “an issue of fact which was not present when Judge

    Torres examined it.” [Trial Tr. Day 6 at 18:2-4].

           At that point, it was clear that Plaintiff’s false imprisonment claim should go to the jury.

    The Court itself noted at trial that summary judgment decisions do not bind the district court for

    the remaining proceedings.      After all, this Court explained, “factual development is still

    ongoing . . . . Pretrial rulings [are] often based on incomplete information[.] [They] don’t bind

    district judges for the remainder of the case. At the summary judgment stage you’re only asked

    whether there could be a material issue of fact that could be introduced.” [Id. at 18:11–18]. Quite

    so. Here, at summary judgment, the magistrate judge found no material issue of fact. At trial,

    however, there was “an issue of fact which was not present when Judge Torres examined it.” [Id.

    at 18:2–4]. That tectonic evidentiary shift required reconsideration of the summary judgment

    decision, and denial of summary judgment.

           B. Maintaining the Summary Judgment Caused Carnival Substantial Prejudice.

           This Court declined to reconsider the summary judgment, however. As the Court saw

    things at the time, reconsideration at that stage “would be prejudicial” because Plaintiff’s counsel

    “ha[d] not designed his case around this issue.” Id. at 70:3–7, 13–15.

           That is not an appropriate basis for denying summary judgment in the face of concededly

    disputed fact issues. The summary judgment standard asks two related questions: Are there




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    disputed issues of fact, and are those disputed issues material? That summary judgment standard

    does not contain a prejudice element, or any other kind of equitable arm; it is a go-, no-go inquiry.

    If material factual disputes exist—as they concededly did here—no summary judgment is

    available. Once Plaintiff put those Notes into evidence and then contradicted them with her own

    testimony, the jury needed to reckon with them.

           And even if “prejudice” to the nonmoving party in the face of material disputed facts was

    sufficient to warrant a summary judgment, reconsideration of the prior summary judgment would

    not have prejudiced Plaintiff in any event. Carnival filed its renewed reconsideration motion a

    matter of days after Plaintiff stipulated to the admission of the FBI Notes giving rise to the material

    factual dispute, and immediately after Plaintiff testified contrary to the Notes.2 The legal

    conundrum arising from the Notes’ admission was evident: The Court itself pointed out the

    material factual dispute the Notes had created. [Id. at 18:2–4]. And the consent element of false

    imprisonment and the consent element of sexual assault are substantially similar. Plaintiff testified

    to the entire series of events. Because Carnival moved before the close of Plaintiff’s case, there

    was time for Plaintiff to call additional witnesses to clarify any facts necessary to her false

    imprisonment claim. See [id. at 21:8–13]. The Court even suggested as much, stating that putting

    Plaintiff back on the stand “would address any concern that [Plaintiff] hadn’t been able to . . .

    speak to the issue.” [Id. at 16:4–9]. And the jury would not have known of the underlying change.

           When a new, material, factual dispute arises, it renders a prior summary judgment

    improper. At that point, a court may not prevent the jury from weighing the evidence on the issue

    in question. Castle v. Sangamo Weston, Inc., 837 F.2d 1550, 1559 (11th Cir. 1988) (“Neither the


    2
      Carnival renewed its motion for reconsideration as soon as practicable after Plaintiff’s testimony.
    Plaintiff testified on Friday, July 15. Plaintiff’s counsel observes the Sabbath; Carnival respected
    that religious observation and did not seek to meet and confer until after the Sabbath, on Sunday,
    July 17. Carnival then filed its reconsideration motion that same day. [ECF No. 296].

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    district courts nor the appellate courts are free to reweigh the evidence and substitute their

    judgment for that of the jury.”). It should instead allow the case to be tried on the evidence

    “actually admitted.” Shelkofsky, 388 F.2d at 979. Maintaining the summary judgment in the face

    of disputed facts effectively precluded Carnival from being able to challenge at trial an element

    critical to the remaining claim and caused Carnival substantial prejudice. See Doe v. Sch. Bd. of

    Miami-Dade Cnty., Fla., No. 19-24048-CIV, 2022 WL 3973881, at *2 (S.D. Fla. Aug. 31, 2022)

    (citing Ad-Vantage Tel. Directory Consultants, Inc., 37 F.3d at 1465).

           The Court’s failure to reconsider partial summary judgment directed the jury towards a

    finding of liability from the trial’s outset. The initial grant of partial summary judgment prevented

    Carnival from contesting liability for false imprisonment and prejudiced the jury as to sexual

    assault. Partial summary judgment is a valuable tool, but one that always risks “unfair prejudice

    and jury confusion.” Sec. & Exch. Comm’n v. BankAtlantic Bancorp, Inc., 661 F. App’x 629, 637

    n.6 (11th Cir. 2016). By definition, someone who is forcibly imprisoned did not consent. See

    [ECF No. 151 at 5]; [ECF No. 309 at 18 (jury instruction defining false imprisonment “as the

    unlawful restraint of a person against their will”)]; see also Escambia Cnty. Sch. Bd. v. Bragg, 680

    So. 2d 571, 572 (Fla. 1st DCA 1996) (per curiam) (defining false imprisonment as “the unlawful

    restraint of a person against his will” (emphasis added and citation omitted)). Lack of consent was

    also a distinct, necessary element of Plaintiff’s sexual assault claim. [ECF No. 309 at 14 (jury

    instruction listing lack of consent as element of the claim)]. Because the Court instructed the jury

    that Anggara had held Plaintiff against her will, the jury took the only logical path available and

    found that Plaintiff did not consent to her sexual encounter in the closet, either. Meanwhile, the

    jury found for Carnival on all other claims—the elements of which, importantly, did not turn on

    consent.




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           Subsequent trial testimony further crystallized the dispute. Plaintiff testified that she did

    not recall several basic facts about her encounter with Anggara, including whether Plaintiff asked

    Anggara to help her hide from her friend and whether Plaintiff ever tried to leave the closet. [Trial

    Tr. Day 5 at 236:25–237:2, 244:8–10]. Nevertheless, Carnival could not use this testimony to

    rebut liability for false imprisonment and, by extension, lack of consent. The court’s summary

    judgment decision, in other words, prevented Carnival from making its case.

           Plaintiff’s change in position compounded the unfairness to Carnival. Plaintiff’s position

    during the summary judgment phase—that no evidence or conclusions from the FBI should be

    admitted—contradicted Plaintiff’s position during trial. See [ECF No. 116]. Yet, after securing

    summary judgment, Plaintiff stipulated to such evidence. [ECF No. 154 (J.E. 26)]. The decision

    allowed Plaintiff to reap the benefit of the Notes without the strategic cost. Plaintiff wanted to use

    the portions of the Notes to argue for lack of consent on the sexual assault charge. And with the

    summary judgment already in hand, Plaintiff was shielded from the downside of the Notes:

    Anggara’s account that Plaintiff brought him into the closet to begin with. By declining to

    reconsider the summary judgment, the court shielded Plaintiff’s false imprisonment claim from

    the jury’s scrutiny.

           Plaintiff’s prejudice argument belies her strategic gambit. Plaintiff’s counsel argued that

    reconsideration of the summary judgment would prejudice their case because they had only

    prepared to try sexual assault, and had stipulated to the FBI Notes “in reliance that I already have

    the false imprisonment claim” and “would not have done that” otherwise. [Trial Tr. Day 6 at 15:5–

    8].

           That is not prejudice. It is a consequence of a strategic litigation choice, and to find

    otherwise is an impermissible usurpation of a jury’s fact finding function.                Denial of




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    reconsideration thus rendered Carnival unable to fairly defend against Plaintiff’s sexual assault

    claim, resulting in a manifest injustice that the Court should correct by granting a new trial.

           C. Summary Judgment Was Also Improper Where the Dispute of Fact Over
              Plaintiff’s Credibility Further Deepened at Trial.

           The Magistrate Judge’s R&R relied on Plaintiff’s sworn deposition testimony as factual

    evidence of false imprisonment, [ECF No. 151 at 5–6], to the exclusion of Carnival’s argument

    that there was a dispute of fact about credibility. Plaintiff’s testimony reflects several memory

    lapses, exacerbated by testimony at trial, that make the decision to grant summary judgment

    untenable for this reason as well.

           Summary judgment is friendly to the non-moving party. “If reasonable minds could

    disagree on the inferences arising from the material facts, then the Court must deny the motion for

    summary judgment.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). In that

    determination, “the court must review all evidence and make all reasonable inferences in favor of

    the party opposing summary judgment.” Chapman v. AI Transport, 229 F.3d 1012, 1023 (11th

    Cir. 2000) (en banc). And only cases “devoid of any need for factual determinations” should be

    disposed of at that stage. Tippens v. Celotex Corp., 805 F.2d 949, 952–953 (11th Cir. 1986).

           But the R&R did not view Plaintiff’s evidence in the light most favorable to the non-

    moving party, Carnival. Plaintiff’s testimony contained, among other things, significant lapses in

    memory. And “any failure of memory throughout the course of discovery create[s] an issue of

    credibility as to which part of the testimony should be given the greatest weight if credited at all.”

    Id. at 954. Plaintiff responded, “I don’t recall” when questioned whether she had asked Anggara

    to help her hide from her friends during her late-night, alcohol-fueled hide-and-seek game. [ECF

    No. 95-1 at 100:2–9]. Plaintiff stated that she did not recall how she entered the closet. [Id. at




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    99:24–100:1]. And when asked whether she consented to a sexual encounter with Anggara,

    Plaintiff responded “I don’t recall.” [Id. at 95:14–16].

           Those credibility issues were further exacerbated at trial. The testimony Carnival elicited

    from Plaintiff on cross-examination highlighted the existence of a genuine dispute of material fact

    on credibility. Plaintiff testified at trial that she did not recall several basic facts about her

    encounter with Anggara, including whether Plaintiff asked Anggara to help her hide from her

    friend, whether Plaintiff consented to sexually engaging Anggara, and whether Plaintiff ever tried

    to leave the closet. [Trial Tr. Day 5 at 236:25–237:2; 235:6–8; 244:8–10]. Plaintiff’s testimony

    also reflected significant inconsistencies between the evidence and her own account. For example,

    the FBI Notes introduced at trial reflected that Plaintiff acted playfully preceding her encounter

    with Anggara and that she may have asked Anggara for help hiding from her friend; Plaintiff

    testified to the contrary. Compare [J.E. 26-3], with [Trial Tr. Day 5 at 236:25–239:15].

           Plaintiff’s incomplete recollection of her encounter with Anggara and her testimony’s

    inconsistencies with other evidence raise a credibility issue that was further exacerbated at trial.

    But because partial summary judgment had been entered on Plaintiff’s claim of false

    imprisonment, the jury was precluded from making that credibility determination itself.

     II.   EXCLUDING THE FBI REPORTS AT TRIAL WAS ERROR.

           For all of the reasons explained above, the jury trial was irreparably tainted by maintaining

    the summary judgment on false imprisonment in the face of disputed evidence. Wholly apart from

    that, moreover, the exclusion of the FBI Reports at trial created substantial injustice. Plaintiff’s

    experts relied on the FBI Reports in forming their expert opinions; indeed, in some places

    Plaintiff’s experts simply repeated statements straight from the reports. Yet one expert failed

    entirely to disclose this reliance until trial. Carnival thus was not able to properly prepare its case,

    nor even to use the Reports for the limited purpose of impeaching the experts, as the rules squarely

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    allow. This error alone is enough for a new trial.

            But it does not stand alone. Excluding the FBI Reports in their entirety was improper. The

    jury, at a minimum, should have been permitted to see the Reports’ conclusion that the incident

    was consensual. The blanket exclusion substantially prejudiced Carnival’s ability to put forward

    its case.

            A. The Court Abused Its Discretion by Excluding the FBI Reports, Even for the
               Limited Purposes of Impeaching Plaintiff’s Experts, after the Experts Relied on
               Them in Forming Their Opinions.

            Parties are required to disclose “all bases of their experts’ opinions and to supplement

    timely their expert disclosures upon discovery of an omission or as required by court order.”

    Mitchell v. Ford Motor Co., 318 F. App’x 821, 824 (11th Cir. 2009) (per curiam) (citing Fed. R.

    Civ. P. 26(a), (e)). Failure to do so precludes a party from using that undisclosed information. See

    Fed. R. Evid. 37(c)(1).

            Disclosure is particularly important when experts rely on information from third parties

    that is not in evidence. Experts can, of course, form their opinion and testify based on facts

    otherwise inadmissible. Fed. R. Evid. 703; United States v. Floyd, 281 F.3d 1346, 1349 (11th Cir.

    2002) (per curiam) (“[H]earsay testimony by experts is permitted if it is based upon the type of

    evidence reasonably relied upon by experts in the particular field.”). But the expert must be

    prepared to disclose what information they relied on and to be cross-examined on that evidence.

    Fed. R. Evid. 705. “[A]n expert witness may rely on reports that would be inadmissible as

    evidence, but, on cross-examination, the expert may be required to disclose the facts or data

    underlying his opinion . . . the evidence should be admitted only for the limited purpose of

    discrediting or impeaching the testifying expert and the jury should be carefully instructed about

    its restricted use.” United States v. Adams, 314 F. App’x 633, 651 (5th Cir. 2009) (per curiam)

    (internal quotation marks omitted). And this makes sense, because it allows the opposing party

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    opportunity to review that evidence in advance rather than being ambushed at trial. One party can

    use Rule 703 to enjoy the benefit of inadmissible evidence by wrapping it in an expert’s opinion,”

    but only if it is willing to take the bitter with the sweet; if the expert on the stand discloses otherwise

    inadmissible evidence supporting her opinion, she is subject to cross-examination thereupon.

    United States v. A&S Council Oil Co., 947 F.2d 1128, 1135 (4th Cir. 1991).

            The Court here allowed the Plaintiff to enjoy the benefit of Rule 703 without shouldering

    the burden of Rule 705. The Court excluded (incorrectly, see infra Section II.B) the FBI Reports

    in its ruling on Plaintiff’s Motion in Limine, [ECF No. 233], yet Plaintiff’s expert Dr. Surloff was

    allowed to rely on the reports in forming her expert opinion without disclosing those reports

    pretrial and without being subject to cross-examination or impeachment on that reliance, to

    Carnival’s substantial prejudice.

            The deadline for pretrial disclosure of the bases of expert’s opinion came and went, and

    Plaintiff did not reveal that Dr. Surloff reviewed and relied on the FBI Reports in forming her own

    opinion. [ECF No. 41]. Dr. Surloff then testified as to her opinion, which cross-examination

    revealed she had formed only after reviewing the FBI Reports and other documents. Indeed, in

    many places her report simply “repeated what was written in the [FBI] report”—except, of course,

    the FBI’s ultimate conclusion that the interaction was consensual. [Trial Tr. Day 5 at 87:23–25,

    89:8–90:4]. Before trial, Carnival had subpoenaed Dr. Surloff to bring all documents upon which

    she relied in her expert report. But Dr. Surloff did not bring the FBI Reports to trial. See [id. at

    124:5–23]. When asked about her Initial Report during cross, Dr. Surloff referenced language

    from the FBI Reports. [Id. at 86:12–90:15]. This blindsided Carnival at trial and deprived Carnival

    of the right to effectively plan a trial strategy with all the facts it was entitled to rely upon.




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            Plaintiff’s Rule 26 violation—part of a pattern of similar violations3—was neither

    “substantially justified” nor harmless. Fed. R. Evid. 37(c)(1). Dr. Surloff’s reliance on the FBI

    Reports was essential to her expert opinion and her testimony. Plaintiff did not testify at trial, for

    example, that Anggara locked the door or that she saw him do so. See [Trial Tr. Day 5 at 186:14–

    16]. This testimony spoke directly to the central issue of consent. Dr. Surloff, however, used the

    FBI Reports to speculate that Plaintiff saw Anggara lock the door. Exhibit 1 at 1 (“He had locked

    the door.”). Had Carnival known that Dr. Surloff relied on the FBI Reports, Carnival could have

    impeached Dr. Surloff with the Reports, explaining that she had impermissibly bolstered Plaintiff’s

    testimony by proffering fact evidence outside her personal knowledge.

            Also when weighing Dr. Surloff’s credibility, the jury could have considered Dr. Surloff’s

    editorial bolstering of Plaintiff’s account using evidence from a report that ultimately came to the

    opposite conclusion. The FBI Report concluded the interaction was consensual. Dr. Surloff

    reviewed the FBI Reports to reach her ultimate conclusion that the interaction was not

    consensual—but the jury was not told that the FBI found otherwise. The FBI Reports, and the

    portions Carnival would have sought to admit at a minimum, were probative of the single most

    important element of this case: consent. See [Trial Tr. Day 6 at 18:2–4]. Instead Dr. Surloff was

    able to form an ultimate opinion that the interaction was not consensual—all while concealing

    from the jury the fact the FBI’s ultimate conclusion that the interaction was consensual and that

    the U.S. Attorney’s Office had declined to prosecute. This stratagem is the legal equivalent of

    eating one’s cake and having it, too. Plaintiff made the tactical decision to have Dr. Surloff rely



    3
      The failure to disclose or supplement Dr. Surloff’s disclosures was not a one-off event. Plaintiff
    also failed to disclose prior to trial that Dr. Surloff conducted any psychological testing on Plaintiff.
    Only on the stand did she reveal she had conducted such testing. The Court limited Dr. Surloff’s
    testimony accordingly by precluding her from discussing testing and the supplemental visit and
    report. [Trial Tr. Day 5 at 81:3–6].

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    on the FBI Reports. Carnival should have been allowed to cross-examine and impeach her with

    those Reports.

           So too with Plaintiff’s security expert, Dr. Foster. Although he (unlike Dr. Surloff)

    disclosed reliance on the FBI Reports, Carnival still was not permitted to admit critical selections

    of the FBI Reports for the purpose of cross-examining Dr. Foster regarding his findings in light of

    the FBI’s conclusion of consent. [Trial Tr. Day 3 at 153:3–157:12]. That restriction altogether

    prevented Carnival from fairly and effectively cross-examining both of Plaintiff’s expert

    witnesses. This, too, rendered the trial fundamentally unfair.

           B. The FBI Reports’ Investigative Conclusions, at a Minimum, Were Admissible
              Under Federal Rule of Evidence 803(8).

           Hearsay in a public investigatory report is admissible if, as relevant here, it is based on

    (1) “a matter observed while under a legal duty to report,” or (2) “factual findings from a legally

    authorized investigation.” Fed. R. Evid. 803(8). Although “statements of third-parties within that

    report are double hearsay” that must fall within a hearsay exception or exclusion to be admissible,

    any “factual findings” and “the conclusions drawn in the report itself are admissible under the

    public records exception to the hearsay rule.” Goodman v. Kimbrough, 718 F.3d 1325, 1333 n.2

    (11th Cir. 2013). In other words, the existence of some third-party hearsay in an investigative

    report does not render the report inadmissible hearsay in its entirety.

           An official investigative report’s conclusions are admissible under the public-record

    exception. This includes FBI reports, United States v. Sallins, 993 F.2d 344, 347 (3d Cir. 1993);

    police reports, Miller v. Field, 35 F.3d 1088, 1090–91 (6th Cir. 1994); EEOC determinations,

    Blanton v. Univ. of Fla. ex rel. Bd. of Trs. of Univ. of Fla., 273 F. App’x 797, 804 (11th Cir. 2008)

    (per curiam); OSHA reports, Crawford v. ITW Food Equip. Grp., LLC, 977 F.3d 1331, 1347–48

    (11th Cir. 2020); and final investigative reports by the U.S. Army Criminal Division (concluding



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    that Army had knowledge of defective product), In re 3M Combat Arms Earplug Prod. Liab. Litig.,

    No. 3:19md2885, 2021 WL 848074, at *2 (N.D. Fla. Mar. 7, 2021).

            Even where portions of the reports repeat certain third-party statements, that does not

    logically require exclusion of the conclusions therein. For example, in Miller v. Field, which

    involved the admissibility of a police report on a reported rape, the information in the report that

    was known or observable by police officials themselves—including the fact that certain interviews

    took place and that the local prosecutor elected not to press charges—was admissible; only the

    statements from the victim and witnesses were deemed inadmissible. 35 F.3d at 1091. In United

    States v. Mackey, the court found the public-records exception did not apply to an FBI Report

    because the report itself “did not find or conclude that” the conduct had occurred, “but merely that

    [a third party] had made that statement” that it had occurred. 117 F.3d 24, 28 (1st Cir. 1997). In

    short, the public-record exception at least allows for admission of investigative conclusions and

    factfindings. And when there is a mix of admissible and inadmissible hearsay in a report, courts

    can admit the reports into evidence and either redact the portions that are not subject to an

    exception or provide a limiting instruction that the inadmissible statements are not evidence of the

    truth of the matter asserted. See, e.g., Miller, 35 F.3d at 1089; Blanton, 273 F. App’x at 806.

            In this case, however, the FBI Reports were excluded in their entirety, on the ground that

    the Reports were all inadmissible hearsay. [ECF No. 233]. That was error; at the very least, the

    investigative conclusions contained within the reports should have been admitted. The court’s

    determination otherwise spawned substantial prejudice to Carnival at trial, as detailed in this

    motion, and thus deprived it of a fair trial.

            The FBI created multiple reports. [ECF Nos. 111-2, 111-4]. The first consists of a

    summary of witness statement and a brief summary of facts, including fact that the U.S. Attorney




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    declined prosecution and that both parties were advised the investigation would not go any further.

    [ECF No. 111-2 at 4]. The second report details the communications between Carnival Security

    and the FBI, and concluded that “The investigation revealed the sexual encounter was consensual

    at the time of the event.” [ECF No. 111-4].

           Plaintiff’s motion in limine requested the court exclude “[a]ny and all FBI

    reports/documents regarding this matter.” [ECF No. 116 at 1]. The Court granted the motion,

    determining that the FBI Reports “constitute inadmissible hearsay” and therefore that

    “determinations and statements made in those reports—including the FBI’s conclusions regarding

    the Subject Incident at issue in this case—will not be” admitted. [ECF No. 233]. That was contrary

    to clear precedent. See, e.g., United States v. De Peri, 778 F.2d 963, 976–977 (3d Cir.1985) (FBI

    reports fall under the public record exception to the hearsay rule and are admissible).

           The court also failed to evaluate the Reports statement by statement to determine which

    were double-hearsay and which—like the fact of certain interviews or the fact that there was no

    criminal prosecution and that investigators found the interaction was consensual—were simply

    factual findings or conclusions properly admissible under Rule 803(8). In its response to the

    motion in limine, Carnival gave the court the option to admit just the Reports’ conclusions, arguing

    that, at a minimum, the jury should “hear that there was no criminal prosecution.” [ECF No. 128

    at 1]. The Court declined to adopt that approach. This was wrong.

           Near the end of the trial, the Court offered an alternative reason for excluding the Reports,

    suggesting that it excluded the reports under Rule 403 because they were more prejudicial than

    probative. [Trial Tr. Day 6 at 67:4–24.] The Court focused on two issues: the investigators had

    spent only three hours on board; and the investigators’ standard for prosecuting is different than

    the civil trial standard. But if FBI protocol permits a three-hour investigation, then that should be




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    sufficiently reliable; and the fact that the investigation was three years more contemporaneous than

    the later trial testimony actually supports their reliability.

            As to the differing burdens of proof, that is something a limiting instruction could cure.

    Consider Blanton, where an EEOC no-cause determination, admitted under the public-records

    exception, applied a different standard than would the civil-trial jury. 273 F. App’x at 804-805.

    The Eleventh Circuit reasoned that differing standards can be explained via “sufficient

    evidence . . . adduced at trial to place the determination in its proper context,” and that the district

    court properly “instructed the jury as to the appropriate use of the determination by explaining that

    it is not an adjudication of rights and liabilities” and that it “provided only ‘background,’ and [was]

    not conclusive of any factual issue” related to the claims at trial. Id.

            There is similarly no reason this court could not have provided a limiting instruction

    informing the jury of the differing standards at play, instructing that the issue of consent was

    ultimately for them to decide, and explaining that the FBI and U.S. Attorney determinations were

    admitted for their consideration. Particularly given that the FBI Notes were admitted—so the jury

    at least knew there was an investigation—admission of these other facts would have provided the

    full and proper context for the jury. See supra at 13. Instead, the jury was aware there was an FBI

    investigation—but was left in the dark about what the FBI concluded.

            This exclusion caused Carnival substantial prejudice. “The jury was entitled to know that

    the [FBI] conducted an investigation” and, applying their specialized expertise in the area, “chose

    to” not prosecute. United States v. Gluk, 831 F.3d 608, 615–616 & n.8 (5th Cir. 2016) (district

    court should have admitted SEC memos detailing decision not to charge; the federal investigators’

    expertise increased the memos’ probative value, and the jury “is perfectly capable of weighing the

    evidence”).




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           The FBI Reports’ conclusions were important, but the jury did not hear or see them. This

    evidence—highly probative evidence from a government agency with specialized expertise in

    investigation—was probative of the most important element of this case, Plaintiff’s consent. And

    as the Court recognized with the related FBI Notes, [Trial Tr. Day 6 18:2–4], evidence that

    contradicts Plaintiff’s account of consent would have created a dispute of material fact regarding

    the central issue in the case: Plaintiff’s consent. This Court should correct that error, and remedy

    the subsequent substantial prejudice, by granting a new trial. .

    III.   DENIAL OF A MITIGATION INSTRUCTION WAS ERROR.

           Carnival requested a jury instruction based on Plaintiff’s failure to mitigate her damages

    by not following her doctors’ instruction to obtain treatment for her claimed psychological injuries.

    [ECF No. 241]. The Court denied the instruction, concluding that mitigation of damages is

    inapplicable to psychological damages. [Trial Tr. Day 6 at 19:2-3 and 80:8-10]. That was also

    incorrect.

           The Eleventh Circuit recently outlined the legal framework for mitigation of damages in

    Rubinstein v. Yehuda, explaining that “a paradigmatic example” of mitigation is a “fail[ure] to

    obtain proper medical care” after an accident, which may “lessen his recovery for the subsequent

    aggravated condition.” 38 F.4th 982, 1000 (11th Cir. 2022) (citation omitted); see also Dolsak v.

    Comm’r of Soc. Sec., 724 F. App’x 914, 915 (11th Cir. 2018) (finding failure to mitigate even

    though plaintiff had a treatment regimen, where plaintiff failed to seek the treatment that would

    have further reduced his limitations). The Eleventh Circuit’s analysis applies just as much to

    mental-health care as it does to medical care; a plaintiff’s failure to take adequate steps to treat a

    condition after an injury is a failure to mitigate, regardless of whether that condition is

    physiological or psychological.




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           Other federal courts that have addressed this issue have similarly held that mitigation

    applies to psychological and emotional damages. In Guzman v. Boeing, 366 F. Supp. 3d 219, 227

    (D. Mass. 2019), for example, the plaintiff suffered PTSD and major depressive disorder after a

    plane experienced a midair incident. Guzman went to therapy and took medication, but did not

    receive positive results right away. Id. at 241. Boeing argued that Guzman should have tried

    alternative methods of treatment earlier than she did. Id. The court properly instructed the jury

    that “a person who causes his or her own losses to be unnecessarily large by failing to act

    reasonably cannot recover for any losses that were avoidable,” id. at 240, and the jury found that

    Guzman had failed to mitigate a portion of her damages. Id. at 227, 241. Similarly, in Elms v.

    Crowley Marine Serv., Inc., the plaintiff suffered from PTSD after falling into the water while

    working as crew on a towing vessel. No. C95-363Z, 1996 WL 881928, at *3 (W.D. Wash. Sept.

    16, 1996).    The plaintiff received psychological care for more than eighteen months, but

    discontinued his treatment. Id. The district court there concluded that the plaintiff had failed to

    mitigate his PTSD by discontinuing treatment, much like Plaintiff here. Id.

           There was ample evidence of Plaintiff’s failure to mitigate her damages. Plaintiff saw a

    psychiatrist only twice, despite his recommendation that she undergo “counseling on an ASAP

    basis.” [Trial Tr. Day 5 at 250:14–18]; see e.g., Def. Trial Ex. 7-5 and 7-15. Plaintiff testified that

    she sought remote treatment through a phone application that offers online mental health

    assistance, [Trial Tr. Day 5 at 251:1–22], but could not provide any records of that treatment.

    [Trial Tr. Day 5 at 234:6–16]. And Plaintiff’s own expert, Dr. Surloff, testified that Plaintiff needed

    “several years of treatment.” [Trial Tr. Day 5 at 142:16–21]. She explained that trending

    “downhill,” as Plaintiff claimed, would be expected of “PTSD patients or people that are not in

    therapy.” [Trial Tr. Day 5 at 56:25 and 57:1–5]. Dr. Surloff recommended that Plaintiff see a




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    psychiatrist twice a week and a psychologist once a week, in addition to group therapy. [Trial Tr.

    Day 5 at 65:17–22]. Plaintiff did not obtain this treatment. [Trial Tr. Day 5 at 250:14–18].

           The failure to give a requested jury instruction is reviewed for abuse of discretion. United

    States v. Singer, 963 F.3d 1144, 1162 (11th Cir. 2020). “A district court abuses its discretion if

    (1) the requested instruction correctly stated the law, (2) the instruction dealt with an issue

    properly before the jury, and (3) the failure to give the instruction resulted in prejudicial harm to

    the requesting party.” Fried v. Stiefel Lab’ys, Inc., 814 F.3d 1288, 1292 (11th Cir. 2016). All

    three elements are met here: The mitigation instruction correctly identified psychological harm as

    being subject to mitigation; the issue was squarely before the jury; and Carnival was substantially

    prejudiced by the lack of a mitigation instruction.

           “Prejudice results when a district court’s failure to give a jury instruction creates a

    ‘misimpression that require[s] a correction’ - that is, when it has an ‘effect on the verdict.’” Brink

    v. Direct Gen. Ins. Co., 38 F.4th 917, 924 (11th Cir. 2022) (quoting Finnerty v. Stiefel Lab’ys, Inc.,

    756 F.3d 1310, 1324 (11th Cir. 2014)). Here, the effect on the verdict was profound. The jury

    awarded $240,000 in future medical care and $10,000,000 in pain and suffering, which the jury

    could have chosen to reduce for failure to mitigate, had it received the proper mitigation

    instruction. Unaware that it should consider Plaintiff’s failure to mitigate, however, the jury

    returned a verdict for what it determined was the amount of Plaintiff’s psychological damages

    without taking into account how those damages could have been reduced with early and regular

    treatment.

           A new trial is required for this independent reason as well.




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                                          CONCLUSION

         For the foregoing reasons, this court should grant Carnival’s request for a new trial.

                                               Respectfully submitted,

                                               MASE SEITZ, P.A.
                                               Attorneys for Defendant
                                               2601 South Bayshore Drive, Suite 800
                                               Miami, Florida 33133
                                               Telephone: (305) 377-3770
                                               Facsimile: (305) 377-0080

                                               By:     /s/ Curtis Mase
                                                       CURTIS J. MASE
                                                       Florida Bar No. 478083
                                                       cmase@maselaw.com
                                                       WILLIAM R. SEITZ
                                                       Florida Bar No. 73928
                                                       wseitz@maselaw.com




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                CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

           Undersigned counsel certifies that counsel for the Defendant has conferred in a good faith

    effort to resolve the issues raised in the motion and Plaintiff’s counsel objects.

                                                           /s/ Curtis J. Mase
                                                           Curtis J. Mase
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                                    CERTIFICATE OF SERVICE

           I hereby certify that on December 19, 2022, a copy of the foregoing was filed electronically.

    Notice of this filing will be sent to all parties through the Court’s Electronic Case Filing System

    (“ECF”). Parties may access this filing through ECF.

                                                         /s/ Curtis J. Mase
                                                         Curtis J. Mase
